8:12-cr-00391-JFB-SMB        Doc # 640   Filed: 05/12/15   Page 1 of 1 - Page ID # 2436




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                 8:12CR391

      vs.
                                                                ORDER
FRANK FIROZ,

                    Defendant.


      This matter is before the Court on defendant’s motion for transcripts, Filing No.

639, in order to file his motion to vacate pursuant to 28 U.S.C. § 2255. The Court has

reviewed the motion and notes the defendant has not specified which transcript(s) he

needs in order to file his 28 U.S.C. § 2255 motion. Therefore, the Court will allow the

defendant to file an amended motion that sets forth which transcripts are needed.

      THEREFORE, IT IS ORDERED THAT the motion for transcripts, Filing No. 639,

is denied at this time but is subject to reassertion with the filing of an amended motion

stating which transcripts the defendant needs for his 28 U.S.C. § 2255 motion.

      Dated this 12th day of May, 2015

                                               BY THE COURT:
                                               s/ Joseph F. Bataillon
                                               Senior United States District Judge
